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                         UNITED STATES DISTRICT COURT
                                              for the
                                    Western District of Kentucky
                                       Owensboro Division

  Jason Morgan                                          )
        Plaintiff                                       )
                                                        )
  v.                                                    )       Case No. 4:17-cv-00154-JHM
                                                        )
  Ally Financial, Inc. et al.                           )
         Defendants                                     )
                                                        )

                       ORDER DISMISSING WITH PREJUDICE AS TO
                                 ALL DEFENDANTS

         Plaintiff Jason Morgan and all Defendants, having jointly stipulated that this case be

  dismissed with prejudice as to all claims against all Defendants as evidenced by the signatures of

  counsel for the parties, and the court being sufficiently advised:

         IT IS THEREFORE ORDERED that Plaintiff Jason Morgan’s claims against all

  Defendants in this action are DISMISSED WITH PREJUDICE, with each party to bear its

  own costs, expenses, and fees.
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